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                          UNITED STATES BANKRUPTCY COURT
                             SOUTHERN DISTRICT OF OHIO
                                 CINCINNATI DIVISION

 In Re:                                           Case No. 1:19-bk-13258

 John Allen Christ                                Chapter 13

 Debtor.                                          Judge Beth A. Buchanan

                                   NOTICE OF APPEARANCE

          Now comes Molly Slutsky Simons, an attorney admitted to practice in the U.S.

Bankruptcy Court, Southern District of Ohio, and enters an appearance on behalf of U.S. Bank

Trust National Association, as Trustee of Dwelling Series III Trust (“Creditor”), in the above

captioned proceedings.

                                                  Respectfully Submitted,

                                                  /s/ Molly Slutsky Simons
                                                  Molly Slutsky Simons (0083702)
                                                  Sottile & Barile, Attorneys at Law
                                                  394 Wards Corner Road, Suite 180
                                                  Loveland, OH 45140
                                                  Phone: 513.444.4100
                                                  Email: bankruptcy@sottileandbarile.com
                                                  Attorney for Creditor

                                 CERTIFICATE OF SERVICE

I certify that a copy of the foregoing Notice of Appearance was served electronically on October
27, 2022 through the Court’s ECF System on all ECF participants registered in this case at the e-
mail address registered with the Court

And by first class mail on October 27, 2022 addressed to:

          John Allen Christ, Debtor
          3417 Pleasant Ave.
          Hamilton, OH 45015
                                                  /s/ Molly Slutsky Simons
                                                  Molly Slutsky Simons (0083702)
                                                  Attorney for Creditor
